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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

GEOGRAPHIC LOCATION                   §
INNOVATIONS LLC,                      §
                                      §
      Plaintiff,                      §                      Case No: 3:21-cv-01399-M
                                      §
v.                                    §                      PATENT CASE
                                      §
RALLY HOUSE STORES, INC.,             §
                                      §
      Defendant.                      §
_____________________________________ §

       JOINT STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE

         Plaintiff Geographic Location Innovations, LLC, and Defendant Rally House Stores,

  Inc., by their respective undersigned counsel, hereby STIPULATE and AGREE as follows:

         1.    All claims asserted by the Plaintiff in this Action are dismissed with prejudice

  and all counter-claims asserted by the Defendant in this Action are dismissed without prejudice

  under Fed. R. Civ. P. 41(a)(1)(A)(ii);

         2.    Each party shall bear its own costs and attorneys’ fees with respect to the matters

  dismissed hereby;

         This Stipulation and Order shall finally resolve the Action between the parties.




JOINT STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE                                     |1
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Dated: August 5, 2021                            Respectfully submitted,

                                                 /s/Jay Johnson
                                                 JAY JOHNSON
                                                 State Bar No. 24067322
                                                 KIZZIA JOHNSON PLLC
                                                 1910 Pacific Avenue, Suite 13000
                                                 Dallas, Texas 75201
                                                 (214) 451 -0164
                                                 Fax: (214) 451-0165
                                                 jay@kjpllc.com

                                                 ATTORNEYS FOR PLAINTIFF

                                                  FISH & RICHARDSON P.C.

                                                  By: /s/ Ricardo J. Bonilla
                                                  Neil J. McNabnay
                                                  Texas Bar No. 24002583
                                                  mcnabnay@fr.com
                                                  Ricardo J. Bonilla
                                                  Texas Bar No. 24082704
                                                  rbonilla@fr.com
                                                  Rodeen Talebi
                                                  Texas Bar No. 24103958
                                                  talebi@fr.com
                                                  Sarika N. Patel
                                                  Texas Bar No. 24073520
                                                  patel@fr.com
                                                  1717 Main Street, Suite 5000
                                                  Dallas, Texas 75201
                                                  (214) 747-5070 – Telephone
                                                  (214) 747-2091 – Facsimile

                                                 ATTORNEYS FOR DEFENDANT


                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true copy of the foregoing was filed electronically
and served by operation of the Court’s electronic filing system on August 5, 2021. Parties may
access the foregoing through the Court’s system.

                                                     /s/Jay Johnson
                                                     JAY JOHNSON



JOINT STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE                                    |2
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  SO ORDERED this _____ day of _______________, 2021.


                                      _______________________________________
                                      UNITED STATES DISTRICT JUDGE




JOINT STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE                     |3
